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Rev. 11/82
                                                        CRIMINAL COMPLAINT
             UNITED STATES DISTRICT COURT                                                CENTRAL DISTRICT OF CALIFORNIA
             -
                 UNITED STATES OF AMERICA                                       DOCKET NO.
                            v.


                         DAVID ALMOG,
                                                                                   11-


     Complaint for violation of Title 18, United States Code § 371: Conspiracy to Defraud the United States


 NAME OF MAGISTRATE JUDGE                                                       UNITED STATES                      LOCATION
                                                                                MAGISTRATE JUDGE
 HON. SUZANNE H. SEGAL                                                                                             Los Angeles, CA
 DA TE OF OFFENSE                     PLACE OF OFFENSE                          ADDRESS OF ACCUSED (IF KNOWN)

 On or before May 14,                 Orange County
 2004 to at least April 17,
 2006
                                                                                                                       FlLtD
 COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATI( N:                                   CLERK. U.S. DISTRICT C(1l~'\' ,


             See attachment                                                                                     SEP 11 62011
                                                                                                      .~    NTRAl DISTRICT OF CALIFORNIA
                                                                                                                                    IlL·V
                                                                                                           IT
 BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
     (See attached affidavit which is incorporated as part of this Complaint)

 MATERIAL WITNESSES IN RELATION TO THIS CHARGE:



  Being duly sworn, I declare that the                                          SIGNA TURE OF COMPLAINANT
  foregoing is true and correct to the
  best of my knowledge.                                                         MIKE M. JEGALIAN
                                                                                OFFICIAL TITLE

                                                                                Special Agent - IRS/CI

 Sworn to before me and subscribed in my presence,
 SIGNATURE OF MAGISTRATE JUDGE(I)                                                                                  DATE
                                                          J:     .II   _.It",
                                                                                rr.~oL
                                                              &                                                    September 16, 2011
1) See Federal Rules of Criminal Procedure rules 3 and 54.
                                                                                  \) UtL
Trial Attorney: Christopher S. Strauss (CDCA Contact: Dorothy C. Kim)                            REC: Arrest Warrant
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        From on or before May 14,2004 to at least April 17,2006, in Orange County, within
Central District of California, defendant DAVID ALMOG unlawfully and knowingly conspired
with others to defraud the United States for the purpose of impeding, impairing, obstructing, and
defeating the lawful government functions of the Internal Revenue Service of the Treasury
Department, by deceitful and dishonest means, in the ascertainment, computation, assessment,
and collection of the revenue, and one or more of such persons committed any act to effect the
object of the conspiracy, in violation of Title 18, United States Code, Section 371.

        In furtherance of the conspiracy and to accomplish its objects, defendant ALMOG along
with others committed the following overt act: On or about April 17, 2006, defendant ALMOG
filed and caused to be filed with the IRS a false income tax return.
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                                             AFFIDAVIT

I, MIKE M. JEGALIAN, being duly sworn, depose and say:


1.       I am a Special Agent with the Internal Revenue Service, Criminal Investigation ("IRS-

         CI"). I have been employed with IRS-CI as a Special Agent since approximately

         February 1996. I am currently assigned to a group that investigates tax fraud, including,

         among other crimes, conspiracies to defraud the United States. I have participated in

         investigations that focus on the use of undeclared foreign banks accounts by United States

         taxpayers and other individuals who willfully conceal assets and income from the IRS.

2.       The information contained in this affidavit is submitted for the sole purpose of

         demonstrating probable cause to obtain a criminal complaint and an arrest warrant

         charging DAVID ALMOG with violating Title 18, United States Code, Section 371,

         conspiracy to defraud the United States. Because this affidavit is being submitted for the

         limited purpose of demonstrating probable cause, it does not contain all of the

         information known to me and lor other law enforcement officers involved in this case.

3.       The information in this affidavit is based on my personal knowledge, information

         provided to me by others, including other law enforcement officers and civilian

         witnesses, as well as my review of documents associated with the case. I am aware of the

         facts and circumstances concerning this investigation and have participated in significant

         aspects of this investigation. In particular, I have reviewed the following: wire transfer

         records of Wells Fargo Bank provided by Wells Fargo and copies of Wells Fargo bank

         records provided by former United Revenue Service, Inc. ("URS") Vice-President R.S.,



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        additional documents provided to the government by R.S., URS documents seized

        through the execution of a search warrant, the affidavit in support of the application for a

        search warrant, publicly available documents regarding URS, tax returns filed with the

        Internal Revenue Service ("IRS"), database records of the Department of Treasury, and

        memoranda of interview with URS employees. I also was present at the interview of R.S.

        conducted on December 28,2010.

               INTERNAL REVENUE SERVICE RULES AND REGULATIONS

Based upon my training and experience I know the following:

4.      The IRS is an agency of the United States Department of Treasury responsible for

        administering and enforcing the tax laws of the United States and collecting the taxes

        owed to the Treasury of the United States.

5.      United States citizens, resident aliens, and legal permanent residents of the United States

        are required to file an individual income tax return with the IRS reporting their worldwide

        income for each year if their gross income exceeds a certain amount.

6.      United States citizens, resident aliens, and legal permanent residents of the United States

        have an obligation to report to the IRS on the Schedule B ofa U.S. Individual Tax

        Return, Form 1040, whether that individual has a financial interest in, or signature

        authority over, a financial account in a foreign country in a particular year by checking

        "YES" or "NO" in the appropriate box and identifYing the country where the account is

        maintained.

7.      United States citizens, resident aliens, and legal permanent residents of the United States

        who have a financial interest in, or signature authority over, one or more financial


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        accounts in a foreign country with an aggregate value of more than $10,000 at any time

        during a particular year are required to file with the Department of the Treasury a Report

        of Foreign Bank and Financial Accounts on Form TD F 90-22.1 ("the FBAR"). The

         FBAR for the applicable year is due by June 30 of the following year.

8.      An "undeclared account" is a financial account maintained in a foreign country that has

         not been reported to the United States government on a tax return and FBAR.

                                       URS AND PARTIES

From interviews with URS employees, my review of an affidavit in support of a search warrant

issued in connection with this case, URS corporate records provided by R.S., and a review of

publicly available documents concerning URS, I know the following:

9.       URS is located in multiple locations throughout the United States. From on or before

         May 14,2004 and continuing until at least April 17,2006, URS had its headquarters in an

        office location in Newport Beach, California, located in the Central District of California.

         Beginning after mid-2006, URS's headquarters was relocated from Newport Beach,

        California to an office in Costa Mesa, California, located in the Central District of

        California. URS also had locations in Los Angeles, California; Santa Clara, California;

         San Diego, California; Seattle, Washington; Dallas, Texas; St. Louis, Missouri;

        Chicago, Illinois; Boston, Massachusetts; New York, New York; Bethesda, Maryland;

        and Atlanta, Georgia.

10.     According to witness interviews with former URS employees, DAVID ALMOG was a

        tax return preparer who began working for URS in or about 2001. As of at least 2006,

        ALMOG was the branch manager ofURS's New York office located in Manhattan and a


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      supervisor of tax return preparers in URS' s East Coast locations. During the course of the

      conspiracy, ALMOG reported to and communicated with URS management. ALMOG is

      an Israeli citizen and a United States Permanent Resident Alien. ALMOG has a United

      States Social Security Number and obtained a driver's license from the State of Florida.

11.   R.S. was the Vice-President ofURS from in or about 2000 until in or about early 2006.

      R.S. worked out of the Newport Beach, California URS headquarters, located in the

      Central District of California.

12.   R.S. has been interviewed multiple times by the government, including interviews with

      agents of the Federal Bureau ofInvestigation, an Assistant United States Attorney, and

      Special Agents of the IRS-CI. R.S's interviews were conducted initially pursuant to a

      proffer agreement and, later, pursuant to a cooperation clause in a plea agreement with the

      United States Attorney's Office, Central District of California. The plea agreement

      provides that, based upon R.S.'s continued compliance with the terms ofthe plea

      agreement, the government will bring to the Court's attention R.S.'s cooperation at

      sentencing.

13.   R.S. has admitted to defrauding URS clients while employed at URS. R.S. told URS

      clients that they owed outstanding taxes to the federal and state government, obtained

      funds from the clients, and provided clients with false documentation to show that the

      taxes had been paid. R.S. did not, in fact, pay the clients' taxes and instead used the funds

      for personal purposes.

14.   R.S. has also admitted to defrauding a URS client by executing and submitting false

      documents to a brokerage firm in order to steal the client's funds from his Individual


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      Retirement Account held at the brokerage firm.

15.   R.S. has also admitted that, while employed at URS, R.S. prepared false tax returns for

      URS clients in order to decrease the clients' tax liabilities. In an interview conducted in

      March, 2009, R.S. stated that he stopped preparing false returns when he left URS. In a

      follow-up interview, R.S. admitted that he was not truthful and that he continued to

      prepare false tax returns for clients using the same methods he used at URS.

16.   On March 10,2009, RS. pleaded guilty to a two-count Information charging him with

      wire fraud in violation of 18 U .S.C. § 1343 in the United States District Court for the

      Central District of California. RS. was sentenced to a term of 30 months' incarceration

      on August 22, 2011.

17.   I reviewed a report from the National Crime Information Center concerning R.S. that was

      dated September 15, 2011. He has also been convicted of the following offenses on the

      following dates: (l) on August 8, 2008, R.S. was convicted of the misdemeanors of

      possession of a narcotic substance and driving under the influence; (2) on October 28,

      1999, R.S. was convicted of felony possession of marijuana; and (3) it appears that RS.

      also committed two parole violations in connection with this August 8, 2008 conviction

      by possessing a firearm on November 17,2009 and driving with a suspended license

      under the influence on February 20,2009. The criminal history report I received is

      unclear regarding the ultimate disposition or punishment concerning these parole

      violations.




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                         SCHEME TO DEFRAUD THE UNITED STATES

From interviews conducted with former employees, a review of URS corporate documents

provided by R.S., and my review of tax returns filed with the Internal Revenue Service, I have

learned the following:

18.    R.S. and others created a plan to illegally reduce clients' tax liabilities by creating false

       and fraudulent losses on individual and corporate returns to offset clients' profits using

       offshore shell entities and offshore bank accounts.

19.    The plan was executed by R.S. and ALMOG for a URS client, hereinafter referred to as

       Client A. The plan entailed creating a false loss for Client A that could be used to reduce

       Client A's income taxes. According to a witness interview with R.S., the first step in the

       scheme to create the false loss was for Client A to transfer money to one or more business

       accounts controlled by R.S., namely accounts at the Newport Office branch of Wells

       Fargo Bank held in the names of Platinum Planning Group, Transnet Asset Management,

       and/or Global Securities LLC., entities controlled by R.S. R.S. then set up a partnership

       between the client and Platinum Planning Group.

20.    The next step in the plan was to work with Client A to incorporate a shell company and

       open a bank account in the name of the shell company at the Luxembourg branch of a

       large Israeli bank headquartered in Tel-Aviv, Israel ("Luxembourg Bank"). The shell

       company established by URS had no legitimate business purpose; it was created solely for

       the purpose of opening a bank account at Luxembourg Bank to house client money that

       was hidden by the offshore transfers.

21.    In step three, Client A's funds were transferred from the R.S.-controlled business


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      accounts into Client A's shell company account at Luxembourg Bank. The purpose of

      the transfers of funds from the R.S. business bank accounts to Client A's offshore bank

      account was to create the appearance on paper of an investment by the Platinum/Client A

      partnership in Client A's shell company. There were no transfers from Client A's

      offshore bank account back to the Platinum/Client A partnership. On paper, it was

      supposed to appear as though the Platinum/Client A partnership "lost" the money

      transferred in a bad investment with the shell company. In reality, Client A's money was

      safe overseas in an account controlled by Client A.

22.   The final step of the plan was to prepare a false U.S. Individual Income Tax Return that

      reported a false partnership flow-through loss on Client A's tax return that significantly

      offset Client A's reported income.

23.   According to R.S.'s witness interview, Client A was a client of DAVID ALMOG's.

      ALMOG offered to implement the offshore structure and false-loss plan for Client A.

      ALMOG worked and communicated directly with R.S. at URS's headquarters in Newport

      Beach, California to illegally reduce Client A's taxes owed on millions of dollars of

      income Client A received due to the exercise of stock options. In addition to

      communicating with URS management in Newport Beach, California, ALMOG's role

      was to communicate directly with Client A with respect to executing the scheme.

24.   Specifically, DAVID ALMOG, R.S., and others agreed to assist Client A to establish a

      foreign entity called Katumba Capital, Inc. and a bank account at Luxembourg Bank in

      the name of Katumba Capital, Inc. in order to carry out the offshore false-loss scheme.

      At all times, Client A maintained control of the funds transferred into the Katumba


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       Capital, Inc. bank account.

25.    According to an interview with R.S., R.S. had meetings with ALMOG and others

       regarding the intention to transfer funds to a foreign bank account held in the name of an

       offshore foreign shell company for Client A. ALMOG provided Client A with the

       information regarding how to transfer his funds to Platinum Planning Group prior to the

       transfers offshore to the Katumba Capital, Inc. bank account.

26.    The four steps of the offshore false-loss scheme were executed for Client A as follows:

       (1) Client A transferred his funds to a business account held at Wells Fargo in the name

       of Platinum Planning Group that was controlled by R.S.; (2) Katumba Capital, Inc. and

       the associated Luxembourg Bank account were established with the assistance of URS

       employees, including ALMOG; (3) R.S. caused the transfers of Client A's funds to be

       made by wire from one or more of his business accounts to the Katumba Capital, Inc.

       bank account at Luxembourg Bank; and (4) the amounts transferred to Katumba Capital,

       Inc. were used by ALMOG and R.S. as a basis to report false partnership losses on Client

       A's 2004 U.S. Individual Income Tax Return. That tax return reported false partnership

       losses in the amount of $1.8 million to offset over $3 million of taxable income Client A

       received through his exercise of stock options.

27.    URS received a fee in excess of$125,000 for providing this service to Client A. Both

       ALMOG and R.S. received a commission based upon the fee paid by Client A.

              STEP ONE: CLIENT A TRANSFERS TO WELLS FARGO ACCOUNTS

From my review of written documentation provided by R.S and bank records provided by Wells

Fargo Bank, located in Newport Beach, California, I have learned the following:


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28.    R.S. prepared a written summary of the money flowing from Client A to the accounts

       R.S. controlled. That 'WTitten summary was provided by R.S. to the government during an

       interview with R.S. The summary shows that Client A transferred the money in four

       increments: $567,000, $521,000, $523,000 and $557,000 for a total of$2,168,000. The

       summary also shows the amounts transferred to the Katumba Capital, Inc. and the fees

       charged by URS for each group of transfers.

29.    Wells Fargo Bank provided records that corroborate R.S's written summary and show the

       following:

              (a) On July 22, 2004, Client A wired $521,000 from his E-Trade Securities

account at Bank of New York to an account at Wells Fargo Bank in the name of Platinum

Planning Group.

              (b) On December 1,2004, a deposit in the amount of $523,000 was made to an

account in the name of Platinum Planning Group.

              (c) On December 20,2004, Client A issued a check in the amount of$557,000

from his E-Trade Securities account at Bank of New York to an account at Wells Fargo Bank in

the name of Platinum Planning Group.

30.    A record from Wells Fargo Bank regarding the first $567,000 deposit into R.S.'s business

       bank accounts could not be obtained.

                  STEP TWO: CREATION OF THE FOREIGN ENTITY AND
                   ESTABLISHMENT OF THE FOREIGN BANK ACCOUNT

From my review of an interview with a tax administrator at URS ("Tax Administrator A"),

described below, documents seized pursuant to a search warrant approved by United States



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Magistrate Judge Charles F. Eick on March 14,2011, and written documentation provided by

R.S., I have learned the foHowing:

31.    On March 15,2011, a search warrant was executed at the Costa Mesa office of DRS. A

       document entitled "Offshore Corporations" was seized pursuant to the search warrant.

       On page 4 of the list, the foreign corporation Katumba Capital Inc. is identified as Client

       A's corporation.

32.    Tax Administrator A worked for DRS at DRS's Newport Beach location from October,

       2002, to July, 2006, and had the responsibility of preparing the documents necessary to

       create an offshore foreign corporation. Tax Administrator A also assisted clients with

       preparing the paperwork necessary to open a foreign bank account at Luxembourg Bank.

33.    Tax Administrator A identified the "Offshore Corporations" list as a list maintained to

       keep track of the names of the foreign corporations and the DRS client that owned each

       foreign corporation.

34.    In or about 2006, Tax Administrator A's employment was terminated. Tax Administrator

       A is currently a named defendant in a civil action brought by DRS against Tax

       Administrator A and Tax Administrator A's current employer related to a non-compete

       provision of Tax Administrator A's employment contract with DRS. The statements

       made by Tax Administrator A were made pursuant to a proffer agreement.

35.    According to an interview with R.S. and documents provided to the government by R.S.,

       ALMOG worked directly with a Luxembourg Bank representative in order to open the

       Luxembourg Bank account in the name of Katurnba Capital, Inc.

36.    On August 8, 2004, ALMOG sent a three-page fax from the New York DRS office to


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       R.S. in the Newport Beach, California URS office that stated: "Finally we got it". The

       "Re:" line of the fax reads "Katumba Inc."

37.    The second page of the fax to R.S. is a fax received by ALMOG from a Luxembourg

       Bank employee. The fax is also labeled "re: Katumba" and states as follows:

               Dear David:

               Please note that the account is [xxx718] and the funds can be sent to us per

               attached forms.

                                                      Best Regards.

                                                      [Luxembourg Bank employee]

38.    The third page of the fax ALMOG sent provides the specific wiring instruction

       information needed to wire money to the Katumba Inc. account held at Luxembourg

       Bank.
                             STEP THREE: R.S. TRANSFERS THE
                              MONEY TO LUXEMBOURG BANK

From my review of wire records from accounts at Wells Fargo Bank in Newport Beach,

California that were provided by R.S., I have learned the following:

39.    In furtherance of the conspiracy, R.S. caused the following transfers of Client A's funds

       from Wells Fargo Bank in Newport Beach, California to the Katumba Capital, Inc.

       account at Luxembourg Bank:

       (a)     On August 10,2004, R.S. caused $150,000 to be wired from Wells Fargo Bank

               Account Number xxxxxxx738 to an account number xxx718 held in the name of

               Katumba Capital, Inc. at Luxembourg Bank.

       (b)     On August 17,2004, R.S. caused $400,000 to be wired from Wells Fargo Bank


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           Account Number xxxxxxx738 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

    (c)    On October 4,2004, R.S. caused $60,000 to be wired from Wells Fargo Bank

           Account Number xxxxxxx738 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

    (d)    On November 17,2004, R.S. caused $300,000 to be wired from Wells Fargo

           Bank Account Number xxxxxxx738 to an account number xxx718 held in the

           name of Katumba Capital, Inc. at Luxembourg Bank.

     (e)   On December 27,2004, R.S. caused $200,000 to be wired from Wells Fargo Bank

           Account Number xxxxxxx738 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

     (f)   On January 12,2005, R.S. caused $160,000 to be wired from Wells Fargo Bank

           Account Number xxxxxxx738 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

    (g)    On January 31,2005, R.S. caused $220,000 to be wired from Wells Fargo Bank

           Account Number xxxxxx448 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

    (h)    On February 8, 2005, R.S. caused $220,000 to be wired from Wells Fargo Bank

           Account Number xxxxxx448 to an account number xxx718 held in the name of

           Katumba Capital, Inc. at Luxembourg Bank.

    (i)    On April 14, 2005, R.S. caused $200,000 to be wired from Wells Fargo Bank

           Account Number xxxxxxx820 to an account number xxx718 held in the name of


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                Katumba Capital, Inc. at Luxembourg Bank.

40.    In total, during 2004 and 2005, approximately $1.9 million of the proceeds Client A

       received from his exercise of stock options was wired to the Luxembourg Bank account

       number xxx718 held in the name of Katumba Capital, Inc.

41.    The transactions were designed to create a paper trail to give the appearance of a loss

       incurred by the Platinum/Client A partnership. That false loss then flowed through to

       Client A's tax return in order to fraudulently reduce the income taxes due on large gains

       Client A realized from the exercise of stock options.

             STEP FOUR: FALSE TAX RETURNS ARE PREPARED FOR CLIENT A

From my review of the 2004 and 2005 Individual Income Tax Returns filed by or on behalf of

Client A, the Form W-2 issued by Mercury Interactive Corp. to Client A, an interview with R.S,

documents provided by R.S., and queries of a database accessible to the IRS, I have learned the

following:

42.    The U.S. Individual Income Tax Returns prepared by URS and filed for Client A for tax

       years 2004 and 2005 were prepared by ALMOG and R.S. ALMOG signed Client A's

       2004 tax return as the Paid Preparer, and was designated as the Paid Preparer on Client

       A's electronically filed 2005 tax return.

43.    Client A was issued a Form W-2 for tax year 2004 by Mercury Interactive Corp. The

       total wages, tips, and other compensation reported in Box 1 of the Form W-2 was

       $3,582,251.08. In Box 12(c) of the Form W-2, $3,364,916.27 of the total compensation

       was designated with code "V." According to IRS publications, code "V" is used to report

       income from a taxpayer's exercise of non-statutory stock options. The Form W-2 is


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      attached to Client A's 2004 tax return.

44.   An amount of$3,582,251.08 was reported as income on Line 7 of Client A's tax return.

      Partnership losses from "Platinurnl[F] Trading JV" and "PYA: Basis Carryover" totaling

      $1,821,612 were claimed on the tax return, which fraudulently reduced Client A's income

      and income taxes due and owing. The reported loss was false because Client A suffered

      no loss. The "loss" was created only on paper by transfers of funds through R.S.'s

      business accounts to Client A's Luxembourg Bank account. The money remained in an

      account at Luxembourg Bank in the name of Katumba Capital, Inc.

45.   The 2004 U.S. Individual Income Tax Return for Client A was filed with the IRS on or

      about August 9,2005. At the time Client A's 2004 tax return was prepared, ALMOG

      was aware that Client A had opened a bank account at Luxembourg Bank in 2004 as

      demonstrated by the fax addressed to ALMOG from the Luxembourg Bank representative

      providing the Katumba Capital, Inc. account information. ALMOG failed to disclose the

      existence of Client A's Luxembourg Bank account, which ALMOG helped open, as

      required by U.S. law on Schedule B of Client A's 2004 income tax return. Specifically,

      in response to question 7(a), Client A's return reports "No" in response to whether Client

      A had an interest in or signatory or other authority over a financial account in a foreign

      country, such as a bank account, securities account, or other financial account at any time

      in 2004.

46.   Client A's 2005 U.S. Individual Income Tax Return was filed with the IRS on or about

      April 17,2006. Schedule B of Client A's 2005 income tax return is false. In response to

      question 7(a), Client A's return reports "No" in response to whether Client A had an


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      interest in or signatory or other authority over a financial account in a foreign country,

      such as a bank account, securities account, or other financial account at any time in 2005.

47.   A query was run on a database named the Currency and Banking Retrieval System

      ("CBRS"). The database is used for researching tax cases, tracking money-laundering

      activities, investigative leads, intelligence for the tracking of currency flows,

      corroborating information, and probative evidence. Based upon a search of CBRS, no

      FBARs were tiled with the Department of Treasury by or on behalf of Client A for tax

      years 2004 and 2005, despite the fact that he had signature authority over a bank account

      at Luxembourg Bank with a balance in excess of$10,000.

48.   The use of an undisclosed account prevents the IRS from determining what, if any,

      taxable income in the form of interest, dividends, or capital gains, was earned on the

      assets in the foreign account.

49.   Based upon the foregoing, there is probable cause to believe that, from in or about May

      14,2004, to at least April 17,2006, DAVID ALMOG, R.S., and others unlawfully and

      knowingly conspired with each other, and others, to defraud the United States for the

      purpose of impeding, impairing, obstructing, and defeating the lawful government

      functions of the Internal Revenue Service of the Treasury Department, by deceitful and




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       dishonest means, in the ascertainment, computation, assessment, and collection ofthe

       revenue, and one or more of such persons committed any act to effect the object of the

       conspiracy.



                                                     MIKE
                                                     SPECIAL AGENT, IRS-CI


Subscribed and sworn before me on this
 1t:, day of September, 2011, in Los Angeles, California




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